      Case 1:25-cv-00239      Document 5-1    Filed 01/28/25      Page 1 of 17




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS,
1001 G Street NW, Suite 700 East
Washington, D.C. 20001,

AMERICAN PUBLIC HEALTH
ASSOCIATION,
800 I Street NW
Washington, D.C. 20001,

MAIN STREET ALLIANCE,
909 Rose Avenue
North Bethesda, Md. 20852,

and

SAGE,
305 7th Avenue, 15th Floor
New York, N.Y. 10001,

Plaintiffs,

v.                                           Case No. 25-cv-239

OFFICE OF MANAGEMENT AND
BUDGET,
725 17th Street, N.W.
Washington, D.C. 20503,

and

MATTHEW VAETH, in his official
capacity as Acting Director, Office of
Management and Budget
725 17th Street, N.W.
Washington, D.C. 20503,

Defendants.

              MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
               MOTION FOR A TEMPORARY RESTRAINING ORDER
      Case 1:25-cv-00239         Document 5-1        Filed 01/28/25       Page 2 of 17




       Just yesterday evening, reports surfaced that the Acting Director of the Office of

Management and Budget had issued a memorandum entitled “Temporary Pause of Agency

Grant, Loan, and Other Financial Assistance Programs.” Memo M-25-13 (hereinafter “the

Memo”). 1 The Memo purports to require every federal agency to temporarily pause “all

activities related to obligation or disbursement of all Federal financial assistance, and other

relevant agency activities that may be implicated by [President Trump’s] executive orders,

including, but not limited to, financial assistance for foreign aid, nongovernmental

organizations, DEI, woke gender ideology, and the green new deal”—effective today at

5:00 p.m. Memo M-25-13 at 2. In practice, the Memo purports to eradicate essentially all

federal grant, loan, and other financial assistance programs. Acting Director Vaeth’s only

stated basis for doing so is his belief that “[f]inancial assistance should be dedicated to

advancing Administration priorities,” and that “[t]he use of Federal resources to advance

Marxist equity, transgenderism, and green new deal social engineering policies is a waste

of taxpayer dollars that does not improve the day-to-day lives of those we serve.” Id. at 1.

       This memo—made public only through journalists’ reporting, with barely twenty-

four hours’ notice, devoid of any legal basis or the barest rationale—will have a devastating

impact on thousands of grant and subgrant recipients who depend on the inflow of grant

money (money already obligated, awarded, and funding ongoing work) to fulfill their

missions, pay their employees, pay their rent—and, indeed, improve the day-to-day lives

of the many people they work so hard to serve.




1
 A copy of the Memo is available online at:
https://www.washingtonpost.com/documents/deb7af80-48b6-4b8a-8bfa-
3d84fd7c3ec8.pdf.


                                              2
      Case 1:25-cv-00239         Document 5-1        Filed 01/28/25        Page 3 of 17




       Although the Trump Administration is at liberty to “advanc[e] [its] priorities,” id.,

it must do so within the confines of the law. It has not. The Memo fails to explain the

source of OMB’s purported legal authority to gut every grant program in the federal

government; it fails to consider the reliance interest of the many grant recipients, including

those to whom money had already been promised; and it announces a policy of targeting

grant recipients based on those recipients’ exercise of their First Amendment rights and for

reasons having no bearing on their eligibility to receive federal funds.

       Given the few hours that remain before federal grantees, loan recipients, and

countless others are thrown into disarray, a temporary restraining order is critical to

maintain the status quo until the Court has an opportunity to more fully consider the

illegality of OMB’s actions.

                                     BACKGROUND

       On January 27, 2025, Matthew J. Vaeth, Acting Director of the Office of

Management and Budget, issued Memo M-25-13, titled “Temporary Pause of Agency

Grant, Loan, and Other Financial Assistance Programs.” The Memo directs each federal

agency to “complete a comprehensive analysis of all of their Federal financial assistance

programs to identify programs, projects, and activities that may be implicated by any of

the President’s executive orders.” Id. at 2.

       The category of “Federal financial assistance programs” covered by the memo is

sweeping. Id. at 1 n.1. It includes all “[a]ssistance that recipients or subrecipients receive

or administer in the form of” federal grants, loans, loan guarantees, and insurance, among

other things (but not Medicare or Social Security benefits). See 2 C.F.R. 200.1.




                                               3
      Case 1:25-cv-00239         Document 5-1        Filed 01/28/25       Page 4 of 17




       The Memo provides that all agencies must cease “all activities related to obligation

or disbursement of all Federal financial assistance, and other relevant agency activities that

may be implicated by the executive orders, including, but not limited to, financial

assistance for foreign aid, nongovernmental organizations, DEI, woke gender ideology,

and the green new deal.” Memo at 2. The sweep of the executive orders referenced is

staggering, from all “equity”-related grants, to all foreign aid, to funding appropriated

through the Inflation Reduction Act and the Infrastructure Investment and Jobs Act, and

beyond. See id. at 1-2. The Memo orders that this “pause” will take effect on January 28,

2025 at 5:00 p.m. Id. at 2. It does not provide an end date for the pause.

                                   LEGAL STANDARD

       To obtain a temporary restraining order, “the moving party must show: (1) a

substantial likelihood of success on the merits; (2) that it would suffer irreparable injury if

the [temporary restraining order] were not granted; (3) that [such an order] would not

substantially injure other interested parties; and (4) that the public interest would be

furthered” by the order. Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290,

297 (D.C. Cir. 2006) (citations omitted); see also Hall v. Johnson, 559 F. Supp. 2d 1, 3 n.2

(“[T]he same standard applies to both temporary restraining orders and to preliminary

injunctions.” (citation omitted)). “When the movant seeks to enjoin the government, the

final two TRO factors—balancing the equities and the public interest—merge.” D.A.M. v.

Barr, 474 F. Supp. 3d 45, 67 (citing Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511

(D.C. Cir. 2016)).

       Courts in this Circuit continue to apply a “sliding scale” approach, wherein “a

strong showing on one factor could make up for a weaker showing on another.” Changji




                                              4
       Case 1:25-cv-00239       Document 5-1        Filed 01/28/25      Page 5 of 17




Esquel Textile Co. v. Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022) (internal quotation

marks and citation omitted) (noting potential tension in case law but reserving the question

of “whether the sliding-scale approach remains valid”); National Railroad Passenger

Corp. (Amtrak) v. Sublease Interest Obtained Pursuant to an Assignment and Assumption

of Leasehold Interest Made as of Jan. 25, 2007, Case. No. 22-1043 (2024 WL 34443596,

at *1-2 (D.D.C. July 15, 2024) (recognizing that district courts remain bound by sliding-

scale precedent).

                                       ARGUMENT

        All three factors favor Plaintiffs here. OMB has likely violated the Administrative

Procedure Act through its cursory reasoning, which fails to acknowledge the deep

detrimental impact that will likely result from the Memo’s precipitous enactment, is not

authorized by law, and is contrary to the Constitution. As a result, the Memo purports that

Plaintiffs will immediately lose access to promised funding, throwing their own finances

and operations into havoc. And the public has no interest in a violation of the law. A

temporary restraining order should issue to prevent Plaintiffs from suffering these harms

until this Court has the opportunity to further consider the case.

  I.    Plaintiffs are likely to succeed on the merits.

        The Memo is replete with APA violations: it is in excess of OMB’s statutory

authority, it is arbitrary and capricious, and it is contrary to law, namely the First

Amendment of the United States Constitution. Plaintiffs are therefore likely to prevail on

the merits of their claim.

        As an initial matter, the Memo constitutes final agency action and is thus subject to

review by this Court. Final agency actions are those (1) that “mark the consummation of




                                              5
     Case 1:25-cv-00239         Document 5-1       Filed 01/28/25      Page 6 of 17




the agency’s decisionmaking process” and (2) “by which rights or obligations have been

determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154,

178 (1997) (quotation marks omitted). The OMB Memo meets both prongs of this test. It

conclusively directs the immediate suspension of the obligation or disbursement of all

federal financial assistance, aside from some limited carveouts, as of 5:00 p.m. on Tuesday,

January 28, 2025—a move that will likely have legal consequences for thousands (and

likely far more) of grant recipients, including Plaintiffs, who have built business plans,

made hiring decisions, and set organizational priorities based on an understanding that they

would receive the grants that the federal government awarded them. The Memo is thus

susceptible to review under the APA, through which a court shall “hold unlawful and set

aside agency action . . . found to be arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

       The Memo is in excess of OMB’s statutory authority. That authority permits it to

provide “overall direction and leadership,” “review agency budget requests for financial

management systems and operations,” “oversee, periodically review, and make

recommendations to heads of agencies,” “provide advice to agency heads,” “settle

differences that arise among agencies regarding the implementation of financial

management policies,” and “communicate with” State and local governments and “foster

the exchange . . . of information concerning financial management standards, techniques,

and processes.” 31 U.S.C. § 503(a). That authority does not, however, extend so far as to

allow OMB to unilaterally, without notice or process, purport to effectively stop all grant

programs across the entire federal government via a two-page Memo. Indeed, OMB

acknowledges the limitations of its authority to direct federal financial management, as its




                                             6
        Case 1:25-cv-00239       Document 5-1        Filed 01/28/25       Page 7 of 17




own Grants Guidance specifies that agencies must take independent action to implement

that Guidance via rules and regulations, 2 C.F.R. § 200.106—a position wholly at odds

with this Memo, which itself renders null and void federal grant programs government-

wide.

         The Memo is also arbitrary and capricious. Under arbitrary-and-capricious review,

“the agency must examine the relevant data and articulate a satisfactory explanation for its

action including a rational connection between the facts found and the choice made.”

Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)

(internal quotation marks and citation omitted). “Normally, an agency rule would be

arbitrary and capricious if the agency . . . entirely failed to consider an important aspect of

the problem . . . or is so implausible that it could not be ascribed to a difference in view or

the product of agency expertise.” Id. In considering an agency’s action, the reviewing

court “may not supply a reasoned basis for the agency’s action that the agency itself has

not given.” Id. (internal quotation marks and citation omitted).

         Here, the Memo fails to articulate any reasoning that could support OMB’s decision

to purport to unilaterally halt all grant programs across the federal government without

notice. At best, it employs some empty platitudes about “a stronger and safer America,”

“eliminating the financial burden of inflation for citizens,” and “Making America Healthy

Again,” while “ensur[ing] that Federal funds are used to support hardworking American

families.” M-25-13 at 1-2. But the Memo does not discuss how halting all federal grant

programs without notice will accomplish any of those goals. Nor could it, in a mere two




                                              7
      Case 1:25-cv-00239         Document 5-1        Filed 01/28/25       Page 8 of 17




pages, have explained how halting grants for cancer research 2 will make America stronger

and healthier, or how halting grants that support fiscal education 3 will reduce financial

burdens; or how gutting the fiscal stability of grant recipients 4 will support the hardworking

American families employed by them.

       The Memo makes no attempt to quantify, or even articulate, the catastrophic

practical consequences that will follow from immediately halting all federal grant

programs: to understate it, “an important aspect of the problem,” 463 U.S. at 43; see also

Dickson v. Sec’y of Def., 68 F.3d 1396, 1404 (D.C. Cir. 1995) (explaining that “[t]he

requirement that agency action not be arbitrary and capricious includes a requirement that

the agency adequately explain its result” and holding invalid agency action where agency

“failed to provide anything approaching a reasoned explanation for its decisions”). Nor

does the Memo explain why it failed to provide meaningful notice to grant recipients of an

impending pause (so that they could plan accordingly), nor explain the urgency that seems

to motivate the agency action.



2
  See “Apply for Cancer Control Grants,” National Cancer Institute Division of Cancer
Control             and          Population         Sciences,          available        at
https://cancercontrol.cancer.gov/funding/funding-opportunities (last viewed Jan. 28, 2025)
(“The Division of Cancer Control and Population Sciences funds a large portfolio of grants
and contracts. The portfolio currently includes over 700 grants, valued at over $500
million.”).
3
  As of July 2019, the Department of Treasury estimated that the federal government spent
$273 million each year on financial literacy and education programs and activities. See
“Federal Financial Literacy Reform: Coordinating and Improving Financial Literacy
Efforts,”        U.S.      Department       of     the     Treasury,       available    at
https://files.eric.ed.gov/fulltext/ED611168.pdf (last viewed Jan. 28, 2025).
4
  To illustrate the breadth of the Memo’s effect: according to GAO, federal grants
comprised approximately 19 percent of total federal spending in Fiscal Year 2022. Federal
grant spending to tribal, state, local, and territorial governments alone totaled
approximately $1.2 trillion. “Grants Management: HHS Has Taken Steps to Modernize
Government-wide Grants Management,” Government Accountability Office, available at
https://www.gao.gov/products/gao-24-106008 (last viewed Jan. 28, 2025).


                                              8
      Case 1:25-cv-00239          Document 5-1        Filed 01/28/25       Page 9 of 17




        Moreover, the Memo utterly fails to account for the significant reliance interests

that attach to grant recipients. “When an agency changes course, as [OMB] did here, it

must be cognizant that longstanding policies may have engendered serious reliance

interests that must be taken into account.” Dep’t of Homeland Security v. Regents of the

Univ. of Cal., 591 U.S. 1, 30 (internal quotation marks and citations omitted). Here, the

reliance interests are as obvious as they are serious: a grant recipient that has already been

awarded a grant, and that reasonably expects grant disbursements on a certain timetable,

has organized its organizational priorities, its spending, its hiring, and the obligations it has

made to clients and creditors accordingly. Pulling the rug out from under an organization

that this same federal government already deemed worthy of funding is not only cruel, it

is obtuse and unreasoned. Whatever the new administration’s feelings about the policy

priorities of its predecessors, it does not have carte blanche to ignore the consequences of

those prior agency actions.

        The Memo’s purported limitation of “to the extent permissible under applicable

law,” M-25-13 at 2, does not render it any less unlawful. Applicable law for federal

financial assistance is complex, with specific terms and requirements that vary across grant

programs and individual awards. Such an assessment is simply impossible to do across all

federal financial assistance programs accurately and completely within the twenty-four

hours permitted for implementation. This clause cannot save the Memo, but instead

reinforces its wholesale lack of reasoning.

        Plaintiffs are also likely to succeed on their claim that the Memo is unlawful and

must be set aside under the APA because it violates the First Amendment. Although the

Memo purports to pause federal disbursements across the board, it makes clear that the




                                               9
     Case 1:25-cv-00239          Document 5-1        Filed 01/28/25       Page 10 of 17




ultimate purpose and objective of that pause is to identify and punish certain disfavored

speakers who, as the Memo describes it, “advance Marxist equity, transgenderism, and

green new deal social engineering policies,” M-25-13 at 1, or, in the words of the Executive

Order “Defending Women from Gender Ideology Extremism and Restoring Biological

Truth to the Federal Government” (January 20, 2025), the Memo cites, “promote gender

ideology.” The Memo does not disguise that it is an effort to punish certain recipients of

federal financial assistance based on their speech, political affiliation, and exercise of their

right of association.

        “It is . . . a basic First Amendment principle that freedom of speech prohibits the

government from telling people what they must say.” Agency for Int’l Dev. v. All. for Open

Soc'y Int'l, Inc., 570 U.S. 205, 213 (2013) (quotation marks omitted). This rule applies both

to direct prohibitions on speech and to speech-related conditions imposed on benefits that

would otherwise be available. See id. at 214 (“[T]he Government ‘may not deny a benefit

to a person on a basis that infringes his constitutionally protected . . . freedom of speech

even if he has no entitlement to that benefit.’”) (quoting Rumsfeld v. F. for Acad. &

Institutional Rts., Inc., 547 U.S. 47, 59 (2006)). In particular, the Supreme Court has made

clear that conditions on federal funding “that seek to leverage funding to regulate speech

outside the contours of the federal program itself”—that is, conditions that do more than

simply define the kinds of activities Congress wants to subsidize—are regulated by the

First Amendment. Id. at 206.

        The Memo seeks to leverage federal funding in just this way. It calls time on all

federal grant and loan disbursements and makes explicit that only recipients who adopt the

Trump administration’s preferred position on charged political issues such as gender




                                              10
       Case 1:25-cv-00239       Document 5-1        Filed 01/28/25      Page 11 of 17




equality, trans rights, and environmental justice—or at least keep quiet their own contrary

views—can hope to receive federal funding again. Particularly given that the Memo

purports to apply across the board to all federal grant programs, the government could not

possibly hope to claim that its conditions on speech and association rights have any

legitimate relevance to grantees’ continued receipt of funds under specific federal grant

programs. And it is hard to imagine a more coercive means the government could employ

to impose its preferred viewpoint on others than to hold hostage billions of dollars or more

in federal funds.

        Because the Memo’s conditioning of federal financial assistance on toeing the

government’s preferred line on matters of deep personal, moral, and political conviction

directly implicates the First Amendment, and because it could not possibly satisfy strict

scrutiny as a viewpoint-based restriction on core political speech, Plaintiffs are likely to

prevail on the merits of this claim. See generally Vidal v. Elster, 602 U.S. 286, 293 (2024)

(“As a general matter, a content-based regulation is presumptively unconstitutional and

may be justified only if the government proves that [it is] narrowly tailored to serve

compelling state interests.” (quotation marks omitted)).

 II.    Plaintiffs will suffer immediate, irreparable injury should the Memo take
        effect.

        Should the Memo’s purported halt to grant funding take effect at 5:00 p.m. today,

Plaintiffs will be irreparably harmed. “An irreparable harm is an imminent injury that is

both great and certain to occur, and for which legal remedies are inadequate.” Beattie v.

Barnhart, 663 F. Supp. 2d 5, 9 (D.D.C. 2009). “Economic harm may constitute irreparable

injury . . . when the loss threatens the very existence of the movant’s business.” Air Transp.




                                             11
     Case 1:25-cv-00239          Document 5-1        Filed 01/28/25    Page 12 of 17




Ass’n of Am., Inc. v. Export-Import Bank of the U.S., 840 F. Supp. 2d 327, 336 (D.D.C.

2012) (quotation omitted).

       As to imminence and certainty of occurrence: By its own terms, the Memo will be

effective later today—within hours. This exigency is, of course, of OMB’s own creation:

It could have chosen an effective date that would have left adequate time for grant

recipients to plan, and for judicial review. But it did not.

       The harms that will take effect later today will be both significant and irreparable.

First, the Memo threatens immediate and irremediable constitutional harm by coercing

grant and loan recipients’ exercise of their First Amendment rights of speech and

association into conformity with the administration’s preferred views. “The loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Roman Cath. Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020)

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)); accord Pursuing

Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016).

       Second, as detailed in the accompanying declarations, Plaintiffs will also suffer

concrete, and indeed existential injuries to their mission, as entire programs will simply

disappear. For example, SAGE’s new online hub, SAGEYou, is funded exclusively

through federal appropriations. A funding cutoff jeopardizes multiple staff positions,

SAGE’s ability to continue meeting its obligations to contractors which it has already

retained, and, most importantly, will have a detrimental effect on the mental health and

overall well-being of millions of LGBTQ+ older adults across the United States,

particularly those residing in rural and underserved areas who already face significant

barriers to accessing critical services and supports. See Tax Decl. (Ex. A) at ¶¶ 8-10.




                                              12
     Case 1:25-cv-00239         Document 5-1       Filed 01/28/25      Page 13 of 17




       This is just one discrete example of the harm that will reverberate through every

project funded by the federal government. Members of APHA, MSA, and NCN receive

and otherwise directly benefit from federal financial assistance including grants and loans,

and halting those expenditures will likewise halt the services they are able to provide in

their communities, while risking their own financial viability. See Yentel Decl. (Ex. B) at

¶¶ 8, 10-12, 15-17; Benjamin Decl. (Ex. C) ¶¶ 21-24; Phetteplace Decl. (Ex. D) at ¶¶ 3-5.

And Plaintiffs likewise are harmed in their missions to promote equity, particularly because

the Memo seeks to chill expression of precisely that goal.

       Another court in this district’s decision in Chef Time 1520 LLC v. Small Business

Administration is instructive. In that case, a restaurant owner applied for a grant from a

fund established through the American Rescue Plan Act “to help restaurants and other

eligible businesses pay ‘expenses incurred as a direct result of, or during, the COVID-19

pandemic.’” 646 F. Supp. 3d 101, 105 (D.D.C. 2022) (quoting 15 U.S.C. § 9009c(c)(5)).

The Small Business Administration approved the grant, but prior to sending the award, the

SBA notified the owner that recent court rulings precluded SBA from paying nearly 3,000

applicants—including the owner. Id. at 108. Meanwhile, the SBA continued paying other,

unaffected grant applicants out of the fund. Id.

       Ultimately, the restaurant owner filed suit against SBA for incorrectly interpreting

the relevant court rulings—and, accordingly, that declining to disburse his award was

arbitrary and capricious in violation of the APA. Id. By the time the restaurant owner

moved for a temporary restraining order, only enough money remained to fund two final

applicants. Id. at 109. In the time that it would take to reach a decision on the merits, the

restaurant owner argued, the last of the remaining grant funds would be gone. Id. at 115.




                                             13
       Case 1:25-cv-00239       Document 5-1        Filed 01/28/25      Page 14 of 17




This, the Court held, would be an irreparable injury. Id. at 115-16 (citing Nat’l Mining

Ass’n v. Jackson, 768 F. Supp. 2f 34, 52 (D.D.C. 2011) (“[I]f a movant seeking a

preliminary injunction will be unable to sue to recover any monetary damages against’ a

government agency in the future because of, among other things, sovereign immunity,

financial loss can constitute irreparable injury.”) (quotation omitted)).

        If the injury to one restaurant in Chef Time was irreparable, so much more so an

equivalent injury to every federal grantee. Untold grantee organizations—which, as of this

filing, are relying on grant funding that the federal government approved and awarded—

may shut their doors, and the essential services that they provide will go unprovided.

III.    The balance of equities and the public interest favor Plaintiffs.

        “It is well established that the Government cannot suffer harm from an injunction

that merely ends an unlawful practice.” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C.

2020) (internal quotation marks and citations omitted). Likewise, “[t]here is generally no

public interest in the perpetuation of unlawful agency action.” Open Communities Alliance

v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017). “To the contrary, there is a substantial

public interest in having governmental agencies abide by the federal laws—such as the

APA, as well as regulations . . .—that govern their existence and operations.” Id. (internal

quotation marks and citations omitted). Thus, for the same reasons that Plaintiffs are likely

to succeed on the merits, equity requires relief.

        But even if this Court were to balance the Government’s interests as if it were a

private party, the scales tip heavily towards Plaintiffs: in one pan, the Government

continuing its regular expenditures of a relatively small portion of the federal budget that

has already been obligated, a routine practice that has not caused the Government injury




                                             14
      Case 1:25-cv-00239        Document 5-1        Filed 01/28/25      Page 15 of 17




yet in the months and years it has been doing so; in the other, Plaintiffs (and the many,

many grant recipients not currently before this Court) staring down imminent financial

harm, with the follow-on consequences to their employees, landlords, creditors,

subgrantees, and the people who rely on their services—without the privilege the

government invokes of simply stopping payment without notice or consequence. The

Memo’s thin rationale of “advancing Administration priorities” cannot support a finding

otherwise.

IV.    Relief must extend to all recipients of federal financial assistance.

       This Circuit’s precedents “hold that ‘[w]hen a reviewing court determines that

agency regulations are unlawful, the ordinary result is that the rules are vacated—not that

their application to the individual petitioners is proscribed.’” D.C. v. U.S. Dep’t of Agric.,

444 F. Supp. 3d 1, 47 (D.D.C. 2020) (quoting Nat’l Mining Ass’n v. U.S. Army Corps of

Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998)). “The same reasoning has force in the

preliminary injunction context.” Id. at 49 (collecting cases). “Nationwide preliminary

injunctive relief guarantees that a rule shown likely to be proven unlawful does not become

effective, providing complete relief to the plaintiffs while the rule’s legality is finally

adjudicated” and “ensur[ing] that complete relief remains available to the plaintiffs after

that final adjudication.” Id.; see also, e.g., Doe 2 v. Mattis, 344 F. Supp. 3d 16, 23 (D.D.C.

2018) (“Plaintiffs were injured by a rule of broad applicability, so the Court acted properly

in granting systemwide [preliminary] relief, even if that relief has the consequence of

protecting the rights of other [parties] individuals not before the Court.”).

       There is no reason to depart from that default rule here. To the contrary, the

unprecedented breadth, speed, and complexity of OMB’s action in freezing all federal




                                             15
     Case 1:25-cv-00239          Document 5-1         Filed 01/28/25      Page 16 of 17




financial assistance across the board and with just hours’ notice makes it all but impossible

that party-limited relief would be practicable in this case even if it were appropriate.

Moreover, because the “nationwide impact” of the Memo ensures that it will “cause

injuries of sufficient similarity to the plaintiff[s’] to other states and individuals throughout

the country,” a nationwide remedy is appropriate. Id. at 51.

                                       CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Court grant their

motion and enter a temporary restraining order enjoining OMB and its Acting Director

from implementing or enforcing Memo M-25-13 until further order of this Court. Plaintiffs

also request that the Court order Defendants to file a status report within twenty-four hours

of the issuance of any temporary restraining order, and every two weeks thereafter for

twelve weeks, confirming the regular disbursement and obligation of federal financial

assistance funds.




                                               16
   Case 1:25-cv-00239     Document 5-1   Filed 01/28/25      Page 17 of 17




Dated: January 28, 2025            Respectfully submitted,

                                   /s/ Jessica Anne Morton
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                                   practice supervised by D.C. Bar members)
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                                   *motion to appear pro hac vice forthcoming




                                   17
